Case 1:21-cv-02595-GPG Document1 Filed 09/24/21 USDC Colorado Page 1 of 20

I
Hy

IN THE UNITED STATES DISTRICT COURT FILED

FOR THE DISTRICT OF COLORADO UNITED STATES DISTRICT COURT.
DENVER, COLORADO :

. SEP 24 710171
Civil Action No. JEFFREY r. week

(To be supplied by the court) , RK
Chaites Lilet (ich pas ______., Plaintiff

Vv.

~ SEC ATU CHED- ,

, Defendant(s).

(List each named defendant on a separate line. If you cannot fit the names of all defendants in
the space provided, please write “‘seeattached” in the space above and attach an additional
sheet of paper with the full list of names. The names listed in the above caption must be
identical to those contained in Section B. Do not include addresses here.)

 

PRISONER COMPLAINT

 

 

 

NOTICE

Federal Rule of Civil Procedure 5.2 addresses the privacy and security concerns resulting from
public access to electronic court files. Under this rule, papers filed with the court should not

| contain: an individual’s full social security number or full birth date; the full name of a person
Known to be a minor; or a complete financial account number. A filing may include only: the
last four digits of a social security number; the year of an individual’s birth; a minor’s initials;
and the last four digits of a financial account number.

Plaintiff need not send exhibits, affidavits, grievances, witness statements, or any other
materials to the Clerk’s Office with this complaint. ,

 

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Decendanr(s)

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Austin CHKESTENASEY)
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LANE. WILDA

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Case 1:21-cv-02595-GPG Documént1 Filed 09/24/21 USDC Colorado Page 3 of 20

A. PLAINTIFF INFORMATION

You must notify the court of any changes to your address where case-related papers may be
served by filing a notice of change of address. Failure to keep a current address on ‘file with the
court may result in dismissal of your case.

Chittees, b. WdiLians(Ciec S22. SH) Zc Ee, PO. Box Zo ZRLEGAVStH, Cd.
(Name, prisoner identification number; and complete mailing’ address) ’ Vrait- BOT

Node —
(Other names by which you have been known)

Indicate whether you are a prisoner or other confined person as follows: (check one) ;

Pretrial detainee ’
Civilly committed detainee

wr

Immigration detainee
Convicted and sentenced state prisoner

Convicted and sentenced federal prisoner
Other: (Please explain)

 

B. | DEFENDANT(S) INFORMATION

Please list the following information for each defendant listed in the caption of the complaint. If
more space is needed, tise extra paper to provide the information requested. The additional
pages regarding defendants should be labeled “B. DEFENDANT(S) INFORMATION. ”

 
   

Defendant 1: .
- (Name, job title,‘and complete mailing address

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At the time the claim(s) | in this copaplaint arose, was this defendant acting under
color of state or federal law? es_- No (check one). Briefly explain:

 

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AN) ETAL ATION UANEK THE AKA AMO it C Hors)

Defendant | is being sued in his/her _\/ individual and/or _\/ official capacity.
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Defendant 2: Austin Che es TENSE CHSC MiMi IL) CHEE NMeul@EMEnT
(Name, job title, and complete mailing address) sO

BucE Po. Bex Zeck, BoE Use CBLEscADD St2U - Dott

At the time the claim(s) in this complaint arose, was this defendant acting under
color of state or federal law? es ‘No (check one). Briefly explain:

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Defendant 3: ;
(Name, job title, and complete mailing address)

BIKE, LO. BX Jt BUENA VistA , PLAC) SIZ 207

At the time the claim(s) in this complaint arose, was this defendant acting under
color of state or federal law? es___ No (check one). Briéfly explain:

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Defendant 3 is being sued in his/her Syontividual and/or otficial capacity.

C. JURISDICTION
Indicate the federal legal basis for your claim(s): (check all that apply

Y 42U-S.C. § 1983 (state, county, and municipal'defendants) ‘

4

Bivens v. Six Unknown Named Agents of Fed. Bureau of Narcotics, 403 U.S. 388 (1971)
(federal defendants)

SL Other: (please identify) 42 U5e O/ ZISLZ AUD @a@ Jd.c. 5 .

 
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Case 1:21-cv-02595-GPG Document1 Filed 09/24/21 USDC Coldrado Page 6 of 20

D. STATEMENT OF CLAIM(S)

State clearly and concisely every claim that you are asserting in this action. For each claim,
specify the right that allegedly has been violated and state all facts that support your.claim,
including the date(s) on which the incident(s) occurred, the name(s) of the specific person(s)
involved in each claim, and the specific facts that show how each person was involved in each
claim. You do not need to cite specific legal cases to support your claim(s). Jf additional space
is needed to describe any claim or to assert additional claims, use extra paper to continue that
claim or to assert the additional claim(s). Please indicate that additional paper is attached and
label thé additional pages regarding the statement of claims as “D. STATEMENT OF CLAIMS.”

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Case 1:21-cv-02595-GPG Document1 Filed 09/24/21 USDC Colorado Page 11 of 20

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DS. STATEMENT OF CLAIN(S)
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N. STATEMENT OF CLAINGS)
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Case 1:21-cv-02595-GPG Document1 Filed 09/24/21 USDC Colorado Page 14 of 20

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E. PREVIOUS LAWSUITS

Have you ever filed a lawsuit, other than this lawsuit, in any federal or state court while you
were iricarcerated? Yes ___ No (check one).

If your answer is “Yes, ” complete this. section of the form. If you have filed more.than one
previous lawsuit, use additional paper to provide the requested information for each previous
lawsuit. Please indicate that additional paper is attached and label the additional pages
regarding previous lawsuits as “E. PREVIOUS LAWSUITS.” *

 

 

Name(s) of deféiidant(s):, "Dee ATHACHEN’
Docket number and court:. [PCV -2BU/-CBS- MEH
Claims raised: Le Ana STOHMEAD. CLIIIGHS

 

Disposition: (is the case still pending?
has it been dismissed?; was relief granted?) _<77 4 PED AMG

Reasons.for dismissal, if dismissed:

 

 

Result on appeal, if appealed:

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F. ADMINISTRATIVE REMEDIES

WARNING: Prisoners must exhaust administrative remedies before filing an action in federal
court regarding prison conditions. See 42 U.S.C. § 1997e(a). Your case may be dismissed or
judgment entered against you if you havé not exhausted administrative remedies.

Is there:a formal grievance procedure at the institution in which you are confined?

Yes ___ No (check one)

Did you exhaust administrative remedies?
he ___ No (check one)
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Case 1:21-cv-02595-GPG Document 1 Filed 09/24/21 USDC Colorado Page 17 of 20-

G. | REQUEST FOR RELIEF

State the relief you are requesting or what you want the court to do. If additional space is needed
to identify the relief you are requesting, ‘use extra paper to request relief. Please indicate that
additional paper’ is attached and label the additional pages regarding relief as “G. REQUEST

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DEMAND.
H. PLAINTIFE’S SIGNATURE

I declare under penalty of perjury that I am the plaintiff in this action, that I have read this
complaint, and that the information in this complaint i is true and correct. See 28 U.S.C. § 1746;
18-U.S.C. § 1621. .
Under Federal Rule of Civil Procedure 11, by signing below, I also certify to the best of my
knowledge, information, and belief that this complaint: (1) is not being presented for an improper
purpose, such’as to harass, cause unnecessary delay, or needlessly increase the cost of litigation;
(2) is supported by existing law or by a nonfrivolous argument for extending or modifying
existing law; (3) the factual contentions have evidentiary support or, if specifically so identified,
will likely have evidentiary support after a reasonable opportunity for further investigation or
discovery; and (4) the complaint otherwise complies with the requirements of Rule 11.

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(Date) °

 

(Form Revised December 2017)
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